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12B
                                     UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF UTAH

                         Request and Order for Modifying Conditions of Supervision
                                      With Consent of the Offender
                                              (Waiver of hearing attached)

Name of Offender: Robert James Calder                                    Docket Number: 2:15CR00258-001-DB

Name of Sentencing Judicial Officer:          Honorable Dee Benson
                                              Senior U.S. District Judge

Date of Original Sentence: June 30, 2016
Original Offense: Felon in Possession of a Firearm
Original Sentence: 72 Months BOP Custody/36 Months Supervised Release

Type of Supervision: Supervised Release                              Supervision Begins: July 9, 2020

                                         PETITIONING THE COURT
☒ To modify the conditions of supervision as follows:
      You must reside in a Residential Reentry Center, under a public law placement, for a period of up to 180
      days, with release for work, education, medical, religious services, treatment, or other approved release as
      deemed appropriate by the U.S. Probation Office.

                                                      CAUSE
The defendant currently resides at the Residential Reentry Center (RRC) in Salt Lake City, Utah, with a
scheduled release date of July 9, 2020. The defendant has been unable to secure housing during his BOP
placement at the RRC. The defendant and his RRC case manager have requested that the defendant be allowed
to remain at the halfway house under Public Law Placement, while he continues to secure the resources needed
for his release to the community.

                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                                                ____________________________
                                                                             by Cameron Sinner
                                                                                U.S. Probation Officer
                                                                                June 5, 2020

THE COURT ORDERS:

☐
X The modification of conditions as noted above
☐ No action
☐ Other
                                                                             Honorable Dee Benson
                                                                             Senior United States District Judge

                                                                             Date:        6/5/2020
